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UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

)
LIBERTY MEDIA HOLDINGS, LLC ) Case No. _12-cv-00923-LRH-GWF

)
Plaintiff,

) DECLARATION OF HENRY LEONARD IN
Vs. ) SUPPORT OF PLAINTIFF’S OPPOSITION

) TO MOTION TO DISMISS FOR LACK OF
SERGEJ LETYAGIN, d/b/a ) PERSONAL JURISDICTION
SUNPORNO.COM; IDEAL CONSULT, _ )
LTD.; “ADVERT”; “CASTA”; )
“TRIKSTER”: “WORKER”: “LIKIS”: )
“TESTER” and DOES 1-50
Defendants

)

I, HENRY LEONARD, hereby declare under penalty of perjury:

L. I am over the age of 18 and am a resident of the state of Nevada.

2. I am the Certified Public Accountant and Certified Management Accountant for
Plaintiff Liberty Media Holdings (Liberty).

3: I am licensed as a Certified Public Accountant in Hawaii, Florida and California.

4, I have Ph.D. in Business from Argosy University, a M.B.A., and Bachelors of
Science in Accounting and Management Science.

5. I am a member of the American Institute of Certified Public Accountants and the

California Society of Certified Public Accountants.

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6. I have served as Chief Financial Officer at two companies prior to my
employment at Liberty. These companies operated internationally in Japan, Australia, Canada
and Mexico, requiring me to oversee and ensure compliance with domestic and international
regulations.

E I have testified as an expert witness before in Liberty Media Holdings, LLC y.
Vinigay, Civil Case No. 11-cv-280 (D. Ariz. 2012). This case also dealt heavily with
information regarding the analysis of online enterprises and their profits.

8. In effort to assist Liberty in this case, I have reviewed some statistical information
provided to me, in order to better understand and portray the Defendants contacts to the United
States.

9. The U.S. Census Bureau currently estimates the population of the United States at
311,391,917. They estimate the current population of Nevada as 2,733,322. Accordingly, the
population of Nevada is approximately .88% of the United States population.

10. Given that the SunPorno.com website is reported by Compete.com to have
3,035,500 unique American visitors in the month of June 2012, it is mathematically appropriate
to determine that it is statistically likely that .88% of those visitors were in Nevada.
Accordingly, 26,712 of those visitors were most likely from Nevada.

Ld. However, it is more likely than not that Nevada is represented to a greater extent
than its mere population percentage. Given that Nevada is a popular tourist destination and is
known for being a place of adult entertainment, it is likely that Nevada represents far more than
.88% of the American traffic.

12. I have also reviewed the traffic collection policies for Compete.com, available at:
http://media.compete.com/site_media/upl/img/Compete_Data Methodology 3.pdf. last visited

July 19, 2012.

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Leonard Declaration re Opposition to Motion to Dismiss

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13. Compete.com utilizes a statistical technique similar to multi-variate analysis to
provide harmonization of various panels of information in order to compile their traffic
information. Because this information is based upon mathematically interpreting sample sizes,
the larger the number of visitors to a website, the more likely this information is going to be truly
accurate. Accordingly, Compete.com only considers websites with over 20,000 United States
unique visitors in a single month as being accurately reported.

14, Utilizing Compete.com, I researched all of the Defendants websites listed in ECFs
1-13 and 1-14 using Compete.com. Attached as Exhibit 5 is a chart demonstrating all of the
United States unique visitors for June 2012. If only those websites that have received over
20,000 unique United States visitors in June 2012 are counted, we can determine that Ideal
Consult’s websites received 6,478,455 unique American visitors in that month. Please note that
this number does not include the traffic to the SunPorno.com website.

15; There are a number of Ideal Consult, Ltd. websites that received American
visitors in June 2012, but did not receive enough unique American visitors to surpass the data’s
threshold. While the measurement of their unique visitors may be incorrect, based upon
Compete.com’s methodology, it is highly unlikely that any of these sites would have returned

any results if they did not experience at least some American traffic in the month of June.

Signed this I day of July, 2012 in Las Vegas, Nevada.

Henry Leonard

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Leonard Declaration re Opposition to Motion to Dismiss

